DOCUMENTS UNDER SEAL
                    Case 3:22-mj-70339-MAG Document 4 Filed 03/23/22 Page 113
                                                         TOTAL TIME (m ins):
                                                                             of 1
M AGISTRATE JUDGE                          DEPUTY CLERK                             REPORTER/DIGITAL RECORDING:
M INUTE ORDER                             Stephen Ybarra                           12:21 - 12:34
MAGISTRATE JUDGE                           DATE                                     NEW CASE         CASE NUMBER
Laurel Beeler                             March 23, 2022                                             3:22-mj-70339-MAG
                                                      APPEARANCES
DEFENDANT                                  AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                    PD.      RET.
Grant McKay Durtschi                                Y        P       Gabriela Bischof                      APPT.
U.S. ATTORNEY                              INTERPRETER                            FIN. AFFT              COUNSEL APPT'D
Erin A. Cornell                            n/a                                    SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR              PARTIAL PAYMENT
                             Elba Romero                             APPT'D COUNSEL                OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                            STATUS
                                                                                                              TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT               BOND HEARING           IA REV PROB. or            OTHER
                                                                                   or S/R
       DETENTION HRG              ID / REMOV HRG            CHANGE PLEA            PROB. REVOC.               ATTY APPT
                                                                                                              HEARING
                                                     INITIAL APPEARANCE
        ADVISED                 ADVISED                  NAME AS CHARGED                TRUE NAME:
        OF RIGHTS               OF CHARGES               IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON              READING W AIVED               W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                SUBSTANCE
                                                        RELEASE
      RELEASED           ISSUED                     AMT OF SECURITY         SPECIAL NOTES                PASSPORT
      ON O/R             APPEARANCE BOND            $                                                    SURRENDERED
                                                                                                         DATE:
PROPERTY TO BE POSTED                            CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                   DETAINED        RELEASED       DETENTION HEARING              REMANDED
      FOR             SERVICES                                                  AND FORMAL FINDINGS            TO CUSTODY
      DETENTION       REPORT                                                    W AIVED
ORDER REMOVED TO THE DISTRICT OF Middle District of Louisiana.
                                                             PLEA
    CONSENT                     NOT GUILTY                  GUILTY                      GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA              PLEA AGREEMENT              OTHER:
    REPORT ORDERED                                          FILED
                                                        CONTINUANCE
TO:                              ATTY APPT                 BOND                   STATUS RE:
                                 HEARING                   HEARING                CONSENT                   TRIAL SET

AT:                              SUBMIT FINAN.              PRELIMINARY           CHANGE OF                STATUS
                                 AFFIDAVIT                  HEARING               PLEA
                                                            _____________
BEFORE HON.                      DETENTION                  ARRAIGNMENT            MOTIONS                  JUDGMENT &
                                 HEARING                                                                    SENTENCING

       TIME W AIVED              TIME EXCLUDABLE            IDENTITY /            PRETRIAL                  PROB/SUP REV.
                                 UNDER 18 § USC             REMOVAL               CONFERENCE                HEARING
                                 3161                       HEARING
                                                 ADDITIONAL PROCEEDINGS
This proceeding held via Zoom video conference. Defendant consents to proceed by video. AUSA offers proffer; defense
offers proffer. AUSA shall submit a proposed detention order. Defendant shall appear in the charging district on 4/6/2022.

                                                                                          DOCUMENT NUMBER:
